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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                    v.                       Case No: 1:17-cr-110-CRC

SHAN SHI, et al.,

             Defendants.

DR. SHI’S MOTION TO REMOVE INCORRECTLY FILED DOCUMENT OR IN THE
               ALTERNATIVE, TO SEAL DOCKET NO. 181-1
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      Please take notice that Defendant Dr. Shi submits this Motion to Remove Incorrectly Filed

Document or in the Alternative to Seal Docket No. 181-1. The declaration of Dr. Gladysz (ECF

No. 181-1) contained in the reply in support of Dr. Shi’s Motion to Exclude the Testimony of Peter

Mattis was inadvertently filed publicly. This declaration contained information that should have

been filed under seal in accordance with the protective order issued in this case (ECF No. 52). The

defense apologizes for this omission, and any inconvenience it has caused the court. After

discovering the error, counsel contacted the clerk’s office and put a temporary lock on the

document. The defense has already refiled this document under seal and respectfully requests that

the unsealed document be permanently deleted from the docket or sealed.




Dated: April 18, 2019                                Respectfully submitted,

                                                      /s/ Peter Zeidenberg_______________
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                                                     Taniel Anderson (Bar No. 997406)
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                                                     Counsel for Defendant Shan Shi




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2019, I caused to be delivered a true and accurate copy of

the foregoing through the Court’s electronic filing system to all counsel of record.




                                                             /s/ Peter Zeidenberg
                                                             Peter Zeidenberg




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